Case 1:20-cv-01208-PLM-RSK ECF No. 8-2, PagelD.18 Filed 02/03/21 Page 1of1

™ Complete items 1, 2, and 3. . A. Signature
, Print your name and address on the reverse TX oo 2. 0 an D1 Agent
$0 that we can return the card to you. - ee DAddressee
» MH Attach this card to the back of the mailpiece, - || 8: Received by CR Te C, Date of Delivery |
or.on the front if space permits. Pe , 202 }

/ 1 Article Addressed to:

y

| a D. Is delivery address different from item 1? CJ Yes
ee If YES, enter delivery address below: [[] No’

Louis DeJoy, Postmaster General “
1. US Postal Service
| 475 L'Enfant Plaza, SW
» Washington DC 20260

“eed # ,
3. Service Type ~. “EY Priority Mall Express®
a Adult Signature .D Registered Mail™
. : : ted

! | (1 Adult Signature Restricted Delivery O Registered Mail Restric'

9590 9402 4938 9063 71414 65 Grtortitied Mall® _ Delivery

foes Se “8 _| Gi Certified Mall Restricted Delivery 1f Return Receipt for

ue = 0 Collect on Defivery Merchandise

P25) eHiala Nlambay (Tpnneban a ae —==-"—"--—/an Delivery Restricted Delivery 5 sore contrmation™ .
Be , , 2 eee Mall af ignature Confirmation. ©:
s 7019 0160 OO00 L?Oe 4455 Mal ied Delivery Restricted Delivery

Te [over $500)

PS Form 3811, July 2015 PSN 7530-92-000-9053

4

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kh
Ha

Domestic Return Receipt j

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POS Attachment 2
